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                          UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF RHODE ISLAND

  STATE OF RHODE ISLAND; STATE OF
  NEW YORK; STATE OF HAWAI‘I; STATE
  OF ARIZONA; STATE OF CALIFORNIA;
  STATE OF COLORADO; STATE OF
  CONNECTICUT; STATE OF DELAWARE;
  STATE OF ILLINOIS; STATE OF MAINE;                 Case No.: 1:25-cv-128
  STATE OF MARYLAND;
  COMMONWEALTH OF MASSACHUSETTS;
  PEOPLE OF THE STATE OF MICHIGAN;                   REPLY IN SUPPORT OF
  STATE OF MINNESOTA; STATE OF                       PLAINTIFFS’ MOTION FOR
  NEVADA; STATE OF NEW JERSEY; STATE                 PRELIMINARY
  OF NEW MEXICO; STATE OF OREGON;                    INJUNCTION
  STATE OF VERMONT; STATE OF
  WASHINGTON; STATE OF WISCONSIN;

        Plaintiffs,

        v.

  DONALD J. TRUMP, in his official capacity as
  President of the United States; INSTITUTE OF
  MUSEUM AND LIBRARY SERVICES;
  KEITH E. SONDERLING, in his official
  capacity as Acting Director of the Institute of
  Museum and Library Services; MINORITY
  BUSINESS AND DEVELOPMENT AGENCY;
  MADIHA D. LATIF, in her official capacity as
  Deputy Under Secretary of Commerce for
  Minority Business Development; HOWARD
  LUTNICK, in his official capacity as Secretary
  of Commerce; FEDERAL MEDIATION AND
  CONCILIATION SERVICE; GREGORY
  GOLDSTEIN, in his official capacity as Acting
  Director of the Federal Mediation and
  Conciliation Service; OFFICE OF
  MANAGEMENT AND BUDGET; RUSSELL
  T. VOUGHT, in his official capacity as Director
  of the Office of Management and Budget;

        Defendants.
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                                        INTRODUCTION

        Defendants do not deny that they have dismantled “three Congressionally created

 agencies,” Opp. 2, and rendered them incapable of fulfilling their statutory duties. Indeed,

 Defendants do not contest a single fact underlying Plaintiffs’ motion. They do not deny that the

 Institute for Museum and Library Services (IMLS) has terminated “well over 1,000 grants” and

 reduced its staff to a caretaker crew incapable of fulfilling basic agency functions. Blake Doe

 Supp. Decl. ¶¶ 5–8, ECF No. 35-3. They do not dispute that no employees are currently working

 at the Minority Business Development Agency (MBDA), and that the agency will be “abolishing

 all positions within MBDA” in four weeks. Alex Doe Supp. Decl. ¶¶ 4–6, ECF No. 35-4. And

 they do not contest that the Federal Mediation and Conciliation Service (FMCS) has terminated

 all of its public-sector bargaining work and permanently reduced its staff from roughly 200 to 15.

 See Burgess Decl. ¶ 7, Ex. 42; Compl. Ex. D. 1

        Even more remarkably, Defendants do not attempt to argue that any of these actions are

 lawful. The opposition brief does not contain a single word in response to Plaintiffs’ argument

 that Defendants acted arbitrarily and capriciously by dismantling these agencies without

 explanation. See Mem. 20–23. Nor do Defendants attempt to rebut Plaintiffs’ argument that

 Defendants acted contrary to law by abandoning the agencies’ statutory functions. See Mem. 23–

 29. It is difficult to escape the conclusion that Defendants simply could not identify a colorable

 defense of the Closure Order or the Closure Decisions. And small wonder: these actions are

 palpably illegal.



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   All references to declarations attached to Plaintiffs’ original Motion for a Temporary Restraining
 Order, ECF No. 3, are to the exhibit number attached to that Motion. References to Plaintiffs’
 supplemental declarations submitted with its Notice of Supplemental Filing, ECF No. 35, are
 referenced by their ECF Number. Three additional declarations are submitted as exhibits to this
 Reply, and any references thereto note as much.
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        That leaves Defendants with the unenviable task of arguing that this manifestly unlawful

 conduct should nonetheless evade judicial review. But here, Defendants’ arguments founder on

 the law, the uncontested factual record, and common sense. Plaintiff States have a judicially

 cognizable interest in the destruction of three agencies that—until recently—provided them with

 millions of dollars in annual funding and numerous direct services. Each agency took “final”

 action when it adopted a policy of eliminating all of its non-statutorily mandated functions and

 gutting its statutory functions. And Plaintiffs do not need to bring this suit in the Court of Federal

 Claims, given that “the terms and conditions of each individual grant that the States receive from

 the Agency Defendants are not at issue,” Plaintiffs do not seek “money damages,” and Plaintiffs

 are challenging a “broad, categorical” policy that extends well beyond the termination of grant

 funding. New York v. Trump, No. 1:25-cv-39-JJM-PAS, 2025 WL 1098966, at *2 (Apr. 14, 2025).

        At bottom, the situation is simple. The President issued an executive order so illegal that

 Defendants cannot defend it on the merits. That order and its implementing decisions are inflicting

 serious and ongoing harm on Plaintiff States and the public at large. And no jurisdictional barrier

 stands in the way of the Court enjoining those decisions and protecting the agencies that Congress

 created. The motion for a preliminary injunction or a stay under 5 U.S.C. § 705 should be granted.

                                            ARGUMENT

        Plaintiffs’ motion is governed by the familiar four-factor test for preliminary relief. See

 Voice of the Arab World, Inc. v. MDTV Med. News Now, Inc., 645 F.3d 26, 32 (1st Cir. 2011).

 Defendants attempt to stack the deck by claiming (Opp. 8) that Plaintiffs seek a “mandatory

 injunction” to which a heightened standard applies. That is doubly incorrect. Plaintiffs seek an

 injunction that would simply restore three agencies to the status quo that existed for years—and,

 in some cases, decades—before the Closure Order was issued on March 14, 2025. Because that



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 relief would preserve “[t]he ‘last uncontested status which preceded the pending controversy,’” it

 is properly viewed “not as mandatory, but as prohibitory.” United Steelworkers of Am., AFL-CIO

 v. Textron, Inc., 836 F.2d 6, 10 (1st Cir. 1987) (Breyer, J.) (citation omitted). In any event, as

 Defendants’ own authority explains, the First Circuit applies “the same four-factor test” to

 mandatory injunction as to other forms of preliminary relief. Braintree Labs., Inc. v. Citigroup

 Global Mkts. Inc., 622 F.3d 36, 41 (1st Cir. 2010). All four of those factors overwhelmingly favor

 Plaintiffs.

 I.      PLAINTIFFS ARE LIKELY TO SUCCEED ON THE MERITS.

         Although the opening section of Defendants’ argument is entitled “Plaintiffs Cannot

 Establish Likelihood of Success on the Merits,” Opp. 8, Defendants do not actually contest the

 merits of Plaintiffs’ central claims. They say nothing in response to Plaintiffs’ arguments that the

 Closure Decisions are arbitrary and capricious and that they violate the agencies’ governing

 statutes—despite the fact that those arguments form the heart of Plaintiffs’ brief. See Mem. 20–

 29. Instead, Defendants largely rest their opposition on a series of threshold objections. They

 contend that Plaintiff States have not suffered any cognizable harm from the gutting of IMLS,

 MBDA, and FMCS; that Plaintiffs’ claims must proceed in a suit for money damages before the

 Court of Claims or in an administrative claim brought by aggrieved employees before the Merit

 Systems Protection Board; that, even though the agencies have already been gutted, the Closure

 Decisions are non-final; and that Defendants have unreviewable discretion to dismantle each

 agency at whim. Those arguments uniformly lack merit. And Defendants’ responses to Plaintiffs’

 claims grounded in the appropriations statutes and the Constitution are similarly infirm.




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                A.      This Court Has Jurisdiction.

                        1. Plaintiffs Have Standing.

        Defendants offer nothing to contradict the extensive evidence Plaintiffs provided that

 establishes their standing to bring this case. Plaintiffs receive numerous direct benefits from the

 agencies at issue, they are already suffering substantial harm as a direct result of Defendants’

 gutting of the agencies, and those harms would be remedied by an order staying or enjoining the

 Closure Decisions. See Mem. 33–42. Nothing more is required to establish standing.

        Instead of engaging with any of these fundamental standing principles, Defendants raise

 various complaints about arguments that Plaintiffs do not make. Defendants argue that Plaintiffs

 cannot seek relief as to agencies not included in their Complaint. Opp. 8–9. But that is not

 disputed: Plaintiffs’ Complaint and Motion encompass Defendants’ actions as to IMLS, MBDA,

 and FMCS, and do not seek relief as to any of the other four agencies listed in the Closure

 Order. See Mem. 10 n.3. Defendants also observe that Plaintiffs cannot seek relief for harms to

 third parties and lack standing to remedy others’ injuries. Opp. at 10. Again, Plaintiffs’ Complaint

 and preliminary injunction motion assert harms to Plaintiffs themselves as a result of Defendants’

 actions. Plaintiffs are not seeking to represent the interests of parties not before this Court.

        To the extent Defendants contend that the scope of relief should be limited to funding or

 services provided to the Plaintiffs themselves, Defendants offer no proposal as to how that can be

 accomplished while still providing “complete relief” to Plaintiffs. Califano v. Yamasaki, 442 U.S.

 682, 702 (1979). The source of Plaintiffs’ injuries is that Defendants’ have shuttered the agencies,

 discontinued programs, and terminated or placed on leave employees who perform functions on

 which Plaintiffs rely. Defendants do not identify any administrable means by which they could

 reverse the closure of the agencies as to only Plaintiffs themselves.



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                        2. Plaintiffs’ Claims Are Ripe.

        Plaintiffs’ claims are also ripe. First, the decisions being challenged are final and fit for

 judicial review. See Susan B. Anthony List v. Driehaus, 573 U.S. 149, 167 (2014). The President

 has issued a Closure Order that contained clear (and unlawful) directives to the three defendant

 agencies. And each of those agencies has carried out those directives by publicly adopting a policy

 of eliminating all non-statutorily required functions and dramatically slashing their statutory

 functions. In particular, MBDA has issued a memorandum describing “the Department’s plan to

 eliminate the non-statutory components and functions of MBDA,” which it says it will carry out

 by “abolishing all positions within MBDA.” Alex Doe Supp. Decl. Ex. A, at 1, ECF No. 35–4.

 FMCS has issued a notice to agency staff stating that “we are required to perform only statutorily

 mandated functions,” and directing the “resulting” elimination of several programs. Compl. Ex.

 D, ECF No. 1–4. And the IMLS Acting Director has issued notices to numerous grant recipients

 stating that “the President’s March 14, 2025 executive order mandates that the IMLS eliminate all

 non-statutorily required activities and functions,” and terminating more than 1,000 grants as a

 result. Compl. Ex. B, ECF No. 35–5; see Blake Doe Supp. Decl. ¶ 5, ECF No. 35–3.

        Furthermore, these policies have already begun to inflict concrete hardship on Plaintiff

 States. Driehaus, 573 U.S. at 167–68. Plucking out a handful of lines from Plaintiffs’ numerous

 declarations, Defendants suggest that Plaintiffs’ harms are speculative and that all of their claims

 are therefore unripe. Opp. 11–13. But Defendants ignore the myriad examples of harms that have

 already materialized or that are certainly impending. For example, numerous States have attested

 that the gutting of IMLS—resulting in both terminated grants and missed grant payments—already

 has compelled them to make staff cuts and close programs. See Jones Decl. ¶ 10–12, 20, 22, Ex.

 33 (Washington); Lucas Decl. ¶¶ 17–18, 20, 31 Ex. 2 (California); Schander Decl. ¶ 16, 22, 24,



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 31–33, Ex. 3 (Connecticut). States that receive MBDA funding have said that “[a]ny pause” in

 funding will require them to cut important programming—a harm that is all but certain to occur

 now that MBDA has reduced its workforce to zero. Hokoana Decl. ¶¶ 13, 20, Ex. 11; Lundy Decl.

 ¶¶ 9, 16, Ex. 12. And FMCS has announced that it is no longer carrying out any public sector

 conciliation services, Compl. Ex. D (FMCS Memo), which Plaintiff States have demonstrated that

 they regularly use and benefit from. See, e.g., Thornton Decl. ¶ 7, Ex. 38; Vaile Decl. ¶ 13(a), Ex.

 24; Delgado Decl. ¶ 9, Ex. 29. Plaintiffs’ injuries, to the extent they have not already occurred,

 are “certainly impending.” Opp. at 12 (citing Clapper v. Amnesty Int’l USA, 568 U.S. 398, 409

 (2013).

                         3. No Statute Channels Plaintiffs’ Claims to Another Forum.

                                  a. The Tucker Act does not channel Plaintiffs’ claims to the
                                     Court of Claims.

           Defendants argue that Plaintiffs are required to bring this suit in the Court of Federal

 Claims. Opp. 13–19. They note that, in Department of Education v. California, 145 S. Ct. 966

 (2025), the Supreme Court issued a brief per curiam opinion holding that the federal government

 was likely to succeed in its argument that States challenging the termination of certain education-

 related grants were required to file suit in the Court of Federal Claims, on the ground that “the

 APA’s limited waiver of immunity does not extend to orders ‘to enforce a contractual obligation

 to pay money’ along the lines of what” the district court ordered in that case. Id. at 968. Relying

 on this preliminary ruling, Defendants argue that because some Plaintiffs have identified grant

 terminations as one harmful consequence of the Closure Decisions for one of the three agencies at

 issue, all of Plaintiffs’ claims must be channeled to the Court of Federal Claims. Claims.

           That argument founders at every turn. Most fundamentally, as this Court explained two

 days ago, the logic of the Department of Education stay decision does not extend to cases in which


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 plaintiffs are challenging a “broad, categorical” policy, and “the terms and conditions of each

 individual grant that the States receive from the Agency Defendants are not at issue.” New York,

 2025 WL 1098966, at *2. In that circumstance, the Court explained, plaintiffs are not seeking to

 “enforce a contractual obligation to pay money.” Id. Rather, their claims fall squarely within the

 holding of Bowen v. Massachusetts, 487 U.S. 879 (1988), that “a district court's jurisdiction ‘is not

 barred by the possibility’ that an order setting aside an agency's action may result in the

 disbursement of funds.” Dep’t of Educ., 145 S. Ct. at 968 (quoting Bowen, 487 U.S. at 910).

        The Court’s logic in New York applies with at least equal force here. As Defendants

 themselves acknowledge, “Plaintiffs do not challenge specific grant terminations [or] specific

 payments they claim to be entitled to,” Opp. 21, let alone put at issue the terms or conditions of

 individual grants.    Instead, Plaintiffs are challenging each agency’s categorical policy of

 eliminating all non-statutorily mandated functions and gutting its remaining functions to the point

 that the agency cannot perform its statutory duties. Plaintiffs’ challenge is thus grounded in

 statutory and constitutional violations independent of any specific obligation to provide funding

 under the terms of any grant. And the relief Plaintiffs seek is an order enjoining the Closure

 Decisions, not an order to require specific performance or compensation under the grant

 agreements. Just as the challenge to the Federal Funding Freeze falls outside the ambit of

 Department of Education, this case does, as well. Accord Pacito v. Trump, No. 25-cv-255, 2025

 WL 1077401, at *5 (W.D. Wash. Apr. 9, 2025) (rejecting federal government’s invocation of

 Department of Education because plaintiffs “assert rights derived from statutory mandates, not

 contractual promises, and seek equitable enforcement of statutory obligations, not contractual

 remedies”); Maine v. U.S. Dep’t of Agric., No. 1:25-CV-00131-JAW, 2025 WL 1088946, at *19

 n.8 (D. Me. Apr. 11, 2025) (similar).



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         Furthermore, although Defendants seek to portray the grant terminations as the “heart of

 this action,” Opp. 15, the role those terminations play in this case is quite limited. Plaintiffs’ harms

 from the dismantling of FMCS do not stem from grant terminations, but from the elimination of

 agency programs and the dismantling of key agency functions. Mem. 39-42. The harms from the

 closure of MBDA turn primarily on the agency’s inability to perform its statutory functions,

 service existing MBDA centers, and issue new grant solicitations. Mem. 36-39; see Alex Doe

 Supp. Decl. ¶ 6, ECF No. 35–4. Even as to IMLS, the States’ harms are caused principally by

 delays in the disbursement of existing grant funding. Mem. 33–36. Only some States have had

 IMLS grants terminated, and their harms are not limited to those terminations. Mem. 35; see, e.g.,

 Jones Decl. ¶¶ 22, 23, Ex. 34 (jobs supported by federal funding, the library’s eBook, audiobook,

 and research database, and programming at the Talking Book and Braille Library all face

 elimination); Schander Decl. ¶ 22, Ex. 4 (lack of funding will result in “immediately inability to

 pay invoices and salaries, meet contractual obligations, operate the statewide delivery services,

 [or] support statewide collections”). Nothing in Department of Education supports the implausible

 conclusion that where some of the Plaintiffs in this suit allege that some of the harms they suffer

 from the dismantling of one of three agencies at issue entailed the termination of grants, the entire

 suit must be channeled to the Court of Claims. Nor do any of Defendants’ other authorities support

 that overbroad claim. Cf. U.S. Conference of Catholic Bishops v. U.S. Department of State, No.

 1:25-CV-00465 (TNM), 2025 WL 763738 (D.D.C. Mar. 11, 2025) (channeling suit to the Court

 of Claims where the “one thing” the plaintiffs sought was an order requiring the government “to

 stop withholding the money due” (emphasis added)).

         In addition, Department of Education only identified potential limits on suits brought

 “under the APA.” 145 S. Ct. at 968. As the federal government has elsewhere conceded, the



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 jurisdictional limits it relies on here do not apply to constitutional claims. See AIDS Vaccine

 Advoc. Coal. v. United States Dep't of State, No. 1:25-cv-400, 3/8/25 Tr. at 87, ECF No. 56 (The

 Court: “The sovereign immunity arguments you’re making are kind of explicitly grounded in the

 text of the APA . . . so they wouldn’t apply—if they foreclosed the APA claims, they wouldn’t

 apply to the separation of powers claims? . . . [Counsel for the Government]: Yes, that’s

 right.”). So even if Defendants’ arguments were correct—which they are not—they would have

 no effect on Plaintiffs’ ability to pursue claims in this Court under Separation of Powers principles

 and the Take Care Clause.

                                  b. The Civil Service Reform Act does not channel Plaintiffs’
                                     claims to the Merit System Protection Board.

        Defendants’ invocation of the Civil Service Reform Act (CSRA) similarly lacks merit.

 Defendants take the position that because they have effectuated the Closure Decisions in part by

 terminating or placing on administrative leave vast swathes of their workforces, States may only

 challenge the Closure Decisions through the administrative scheme Congress established for

 aggrieved federal employees to raise employment-related complaints. See Opp. 19–20.

        That is incorrect. Plaintiffs have not brought a challenge to any specific employment

 actions. Cf. United States v. Fausto, 484 U.S. 439, 440 (1988) (channeling individual employee’s

 challenge to disciplinary suspension through CSRA scheme); Elgin v. Dep’t of Treasury, 567 U.S.

 1, 7 (2012) (channeling former employees’ challenge to discharge for failure to register for

 Selective Service through CSRA scheme).           They have raised statutory and constitutional

 challenges to the Closure Decisions, which are policies under which the Defendants have

 eliminated all non-statutorily mandated functions and reduced any statutory functions to the bare

 minimum. Although Defendants have effectuated those Closure Decisions in part by terminating

 or placing on leave employees who perform functions the agencies have decided are no longer


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 needed, Plaintiffs’ claims challenge a decision upstream from any employment-related action. It

 would make no sense to channel Plaintiffs’ statutory and constitutional challenges to those broad

 agency policies through a scheme for hearing employment grievances, to be adjudicated by a

 tribunal—the Merit Systems Protection Board (MSPB)—whose expertise is in claims of

 employment discrimination and wrongful discharges. As the Supreme Court has explained in a

 closely related context, challenges to “the structure or very existence of an agency”—rather than

 to a “specific substantive decision” such as “fining a company” or “firing an employee”—are not

 subject to jurisdiction channeling and “belong[] in district court” Axon Enters., Inc. v. FTC, 598

 U.S. 175, 189 (2023).).

        The doctrine governing CSRA preclusion confirms that Defendants’ argument is without

 merit. To demonstrate that the CSRA precludes jurisdiction over a class of claims, Defendants

 must satisfy the two-step framework set forth in Thunder Basin Coal Co. v. Reich, 510 U.S. 200

 (1994), which requires both that (1) “Congress’s intent to preclude district-court jurisdiction is

 fairly discernible in the statutory scheme,” and (2) plaintiffs’ claims are of “the type [] Congress

 intended to be reviewed within [that] scheme.” Elgin, 567 U.S. at 9-10, 15. Nothing in the CSRA

 scheme indicates that Congress intended to preclude jurisdiction over claims challenging the

 elimination of agency functions. Nor does the scheme suggest Congress intended to preclude

 claims brought by States, which are far afield from the employees or former employees subject to

 the scheme in the first place. See Fausto, 484 U.S. at 443-447.

        Furthermore, these claims are plainly not “the type that Congress intended to be reviewed

 within the CSRA scheme.” Elgin, 567 U.S. at 15. To assess this question, courts look at whether

 (1) “a finding of preclusion could foreclose all meaningful judicial review,” (2) “the suit is ‘wholly

 collateral to a statute’s review provisions,’” and (3) ““the claims are ‘outside the agency’s



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 expertise.’” Id. (quoting Free Enterprise Fund v. Public Co. Accounting Oversight Bd., 561 U.S.

 477, 489 (2010)) All of these factors point decisively against preclusion. Because States cannot

 bring claims through the CSRA scheme, finding CSRA preclusion would foreclose all meaningful

 judicial review—including as to constitutional claims, for which preclusion is strongly disfavored.

 See Webster v. Doe, 486 U.S. 592, 603 (1988). Furthermore, the States’ claims are wholly

 collateral to the statute’s review provisions, which concern employment grievances, not challenges

 to the termination of agency functions, the failure to carry out statutory duties, or the refusal to

 expend appropriations. See Axon, 598 U.S. at 193-95. And the MSPB has no expertise in

 adjudicating such claims; its experience is in hearing employment grievances, not statutory or

 constitutional challenges to agency policies. Id. at 194-98; cf. Am. Fed. of Gov’t Employees, AFL-

 CIO v. Trump, 929 F.3d 748, 752, 755-61 (D.C. Cir. 2019) (channeling union’s claims concerning

 “relations between the federal government and its employees” because the scheme preserved

 avenues for the union to seek relief, the claims were of a type regularly adjudicated by the agency,

 and the agency had expertise in labor-management relations).

        Finally, like Plaintiffs’ Tucker Act argument, Defendants’ CSRA argument sweeps too far.

 Widescale terminations are only one means by which Defendants have implemented the Closure

 Order and the Closure Decisions. They have also taken other actions—including canceling

 programs, see, e.g., Compl. Ex. D (FMCS notice), and terminating grants, see, e.g., Blake Doe

 Decl. ¶ 13, Ex. 39; Compl. Ex. B (IMLS Email). It would make no sense to transfer the entirety

 of a case with harms so far afield from employment issues to the MSPB. And the irrelevance of

 these actions to the CSRA scheme only underscores that Plaintiffs’ claims fall outside of that

 scheme altogether.




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                B.      Defendants’ Objections to Plaintiffs’ APA Claims Lack Merit.

                        1. The Closure Decisions Are Final Agency Actions.

        Defendants contend that Plaintiffs are not challenging a “discrete agency action”

 reviewable under the APA but rather are raising an improper “programmatic” challenge to a variety

 of agency actions. Opp. 20–21. That is incorrect. Plaintiffs are challenging each agency’s

 decision to adopt a policy of eliminating all functions and components not mandated by statute,

 and of dramatically reducing their remaining functions. The decision to adopt such a policy is a

 “rule” or an “order” reviewable under the APA. See 5 U.S.C. § 551(4) (defining “rule” to include

 “the whole or a part of an agency statement of general or particular applicability and future effect

 designed to implement, interpret, or prescribe law or policy”); N.Y. Stock Exch. LLC v. Sec. &

 Exch. Comm’n, 2 F.4th 989, 992 (D.C. Cir. 2021) (an “order” is “virtually any authoritative agency

 action other than a rule”). And these policies satisfy the other requirements for finality, as well.

 See Bennett v. Spear, 520 U.S. 154, 177–78 (1997). Each agency has “‘consummate[ed]’ [its]

 decisionmaking process,” id. at 178, by publicly announcing the policy and making clear it

 believes itself required by the Closure Order to adopt that policy. See supra pp. 4-5. And each

 agency’s policy has had numerous legal consequences—including the mass termination of agency

 employees, rescission of agency programs, and elimination of grant funding for States and other

 recipients. See id.; Mem. 19–20.

        The First Circuit recently upheld this Court’s conclusion that a challenge to another “broad,

 categorical” policy satisfied the APA’s finality requirement. New York v. Trump, — F.4th —,

 2025 WL 914788, at *12 (1st Cir. Mar. 26, 2025). It explained that the federal government failed

 to make a strong showing that a challenge to the Federal Funding Freeze was the type of “broad

 programmatic attack” the Supreme Court disapproved of in Norton v. Southern Utah Wilderness

 Alliance, 542 U.S. 55, 64 (2004). See New York, 2025 WL 914788, at *12. And it noted that the
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 Supreme Court had itself recognized that a challenge to an “across the board” policy could satisfy

 the APA’s finality requirement. Id. (quoting Lujan v. Nat’l Wildlife Fed., 497 U.S. 871, 890 n.2

 (1990), and citing Hisp. Affs. Project v. Acosta, 901 F.3d 378, 388 (D.C. Cir. 2018)).

        The federal government’s opposition brief largely reprises its unsuccessful arguments in

 New York without acknowledging that adverse precedent or grappling with any of its holdings.

 Defendants once again analogize this challenge to Lujan and Norton. Opp. 21. But as the First

 Circuit explained, “the ‘broad programmatic attack’ at issue in Lujan was an attempt to seek

 ‘wholesale’ ‘programmatic improvements’ ‘by court decree’ by ‘couch[ing]’ ‘[the Bureau of Land

 Management's] land withdrawal review program’ as an ‘unlawful agency ‘action.’” Id. at *11

 (quoting Norton, 542 U.S. at 64); see also Cobell v. Kempthorne, 455 F.3d 301, 305-06 (D.C. Cir.

 2006) (disapproving of suit where plaintiffs sought a “plan” encompassing “all-purpose

 supervision of the defendants’ compliance with . . . sixteen general fiduciary duties”). This

 challenge looks nothing like that; Plaintiffs are challenging a discrete, categorical policy the

 agencies themselves acknowledge they have adopted. That is exactly the sort of challenge to an

 “across the board” policy that Lujan itself made clear was proper. New York, 2025 WL 914788,

 at *12 (quoting Lujan, 497 U.S. at 890 n.2).

        Defendants also suggest that the Closure Decisions are non-final because they have led the

 agency to take numerous additional actions to shut down agency functions or terminate employees.

 Opp. 21. But the fact that agencies have implemented their categorical policies in a number of

 ways does not render those policies non-final; it simply confirms the categorical nature of the

 policies. See New York, 2025 WL 914788, at *13 (crediting finding that numerous individual

 funding freezes were “taken pursuant to such categorical decisions”).




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        Nor are the Closure Decisions “interim” or “preliminary.” Opp. 23. The agencies have

 publicly announced those policies, stated that they are “required” or “mandated” by Executive

 Order, and issued sweeping directives to the agencies’ staffs and third parties on the basis of those

 policies. See supra pp. 4-5; see also Opp. 23 (acknowledging that the agencies’ actions reflect

 “decisions by agency leadership to realign their policy goals and actions consistent with the current

 administration’s directives”). There is no basis to believe the agency will “reconsider” those

 decisions. International Union, United Mine Workers of America v. Mine Safety & Health

 Administration, 823 F.2d 608, 614-615 & n.5 (D.C. Cir. 1987). And the parties can litigate this

 case based on whatever administrative record defendant agencies assembled in the course of

 reaching the Closure Decisions. See Opp. 22.

                        2. The Closure Decisions Are Not Committed to Agency Discretion.

        Defendants also argue that Plaintiffs’ APA claims cannot be adjudicated because they

 challenge “staffing decisions” that are committed to agency discretion by law. See Opp. 24–27.

 But Plaintiffs are not challenging mere “staffing decisions.” Opp. 24. The Closure Order and the

 Closure Decisions explicitly mandate the elimination of agency “functions” and “components.”

 Closure Order § 2(a); see, e.g., Alex Doe Supp. Decl. Ex. A, at 1, ECF No. 35-4 (describing “the

 Department’s plan to eliminate the non-statutory components and functions of MBDA”). And the

 agencies have carried out these directives by terminating programs, eliminating funding, and

 implementing large-scale RIFs of agency employees—all in a manner that has resulted in the

 abdication of the agencies’ statutory duties. Defendants offer no evidence or declarations to

 support their suggestion that the Closure Decisions are simply “internal” reorganizations.

        Once this erroneous premise is eliminated, nothing is left of Defendants’ committed-to-

 agency-discretion arguments. Defendants’ own authorities make clear that the challenged actions



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 do not fall within the scope of agency discretion. Lincoln v. Vigil states that “an agency is not free

 simply to disregard statutory responsibilities” and that “Congress may always circumscribe agency

 discretion to allocate resources by putting restrictions in the operative statutes.” 508 U.S. 182, 193

 (1993) (emphases added). And FCC v. Prometheus Radio Project affirms that the arbitrary-and-

 capricious standard requires a court to “ensure[] that the agency has acted within a zone of

 reasonableness and, in particular, has reasonably considered the relevant issues and reasonably

 explained the decision.” 592 U.S. 414, 423 (2021) (emphasis added). Plaintiffs do not seek to

 circumscribe the agency’s prosecutorial discretion, cf. Heckler v. Cheney, 470 U.S. 821 (1985), or

 to impose any extra-statutory procedural requirements on the agency, cf. Vermont Yankee Nuclear

 Power Corp. v. Nat. Res. Def. Council, Inc., 435 U.S. 519 (1978). They simply seek to hold the

 agency to its obligations to follow statutory restrictions and the reasoned decision-making

 requirements of the APA when eliminating agency functions and programs. Defendants offer no

 argument that they have done so.

                        3. The Closure Decisions Are Arbitrary, Capricious, and Contrary to Law.

        As noted above, when Defendants finally get around to the merits, they make no attempt

 to deny that the Closure Decisions are arbitrary, capricious, and contrary to the statutes imposing

 mandatory duties on IMLS, MBDA, and FMCS. Defendants do briefly address the claim that the

 Closure Decisions violate the governing appropriations statutes. But their claim on that score is

 non-responsive to the arguments Plaintiffs actually make.

        Defendants do not dispute that the Executive Branch is obligated to spend money

 appropriated by Congress. See, e.g., In re Aiken County, 725 F.3d 255, 261 n.1 (D.C. Cir. 2013);

 City & Cnty. of San Francisco v. Trump, 897 F.3d 1225, 1235 (9th Cir. 2018); New York v. Trump,

 — F. Supp. 3d —, 2025 WL 715621, at *1 (D.R.I. Mar. 6, 2025), stay pending appeal denied, —



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 F. 4th —, 2025 WL 914788 (1st Cir. Mar. 26, 2025). Defendants also do not dispute that IMLS,

 MBDA, and FMCS have been so substantially dismantled that it will be impossible for them to

 expend the full amount appropriated by Congress for the remainder of the fiscal year. Nor could

 they: MBDA has announced that it will abolish every position in four weeks’ time; FMCS has

 reduced its workforce by 90% and shuttered its major programs; and IMLS has canceled over

 1,000 grants and decimated its workforce. It follows that Defendants have violated each agency’s

 appropriations statute by failing to spend the money Congress appropriated.

        Entirely ignoring those issues, Defendants instead devote their response to a red herring.

 They argue that, contrary to the argument they ascribe to Plaintiffs, Defendants do not have “a

 statutory obligation . . . to spend the money appropriated for grant funding or provision of services

 for Plaintiffs.” Opp. 27 (emphasis added). But that is not Plaintiffs’ argument. Plaintiffs do not

 contend that Congress appropriated to them the funds allocated to IMLS, MBDA, or FMCS. Nor

 do Plaintiffs claim that the agencies lack discretion in awarding grants. Rather, Plaintiffs argue

 that Defendants are improperly refusing to spend the money appropriated to IMLS, MBDA, and

 FMCS. Defendants offer no response to that straightforward assertion.

        Defendants also make the puzzling argument that Plaintiffs “do not . . . explain how the

 specific services the agencies provide are statutorily mandated, much less that they have been

 terminated.” Id. But the Complaint, Plaintiffs’ opening brief, and the supporting declarations and

 exhibits all make clear that IMLS, MBDA, and FMCS provide a host of statutorily mandated

 services and that many of these services have been effectively terminated. See PI Mot. at 24–27,

 Blake Doe Decl., Ex. 40, Alex Doe Decl., Ex. 41, Jones Decl., Ex. 34, Lucas Decl., Ex. 3, Schander

 Decl., Ex. 4, Lundy Decl., Ex. 12, and Exhibits B and D to the Complaint. In any event, Plaintiffs’

 appropriations claim does not depend on a contention that any specific functions are statutorily



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 mandated. It depends on the contention that Defendants must spend the funds that Congress

 appropriated them, which the agencies manifestly cannot do if they have been dismantled.

                C.      Plaintiffs Are Likely to Succeed on Their Constitutional Arguments.

        In addition to violating the APA, Defendants have violated “bedrock principles of

 constitutional law,” Aiken County, 725 F.3d at 259, by issuing the Closure Order and the Closure

 Decisions. Mem. 27–33.

                        1. Defendants Have Violated the Separation of Powers Doctrine.

        Defendants have violated the separation of powers by usurping Congress’s exclusive power

 to make law, appropriate funds, and create and define federal agencies. Mem. 29–30. Defendants

 claim that Dalton v. Specter, 511 U.S. 462 (1994), forecloses Plaintiffs’ separation-of powers

 claim because it “rejected the proposition that ‘whenever the President acts in excess of his

 statutory authority, he also violates the constitutional separation of powers doctrine.’” Opp. 28

 (quoting Dalton, 511 U.S. at 471). But as the D.C. Circuit has explained, Dalton “merely stands

 for the proposition that when a statute entrusts a discrete specific decision to the President and

 contains no limitations on the President’s exercise of that authority, judicial review of an abuse of

 discretion claim is not available.” Chamber of Comm. v. Reich, 74 F.3d 1322, 1331 (D.C. Cir.

 1996). By contrast, “Dalton is inapposite where the claim instead is that the presidential action . .

 . independently violates . . . a statute that delegates no authority to the President” to engage in the

 challenged action. Id. at 1332; accord Sierra Club v. Trump, 963 F.3d 874, 889 (9th Cir. 2020),

 vacated and remanded as moot mem. sub nom. Biden v. Sierra Club, 142 S. Ct. 46 (2021) (“Dalton

 suggests that some actions in excess of statutory authority may be constitutional violations, while

 others may not.”).

        Here, there is no contention that the President has been specifically entrusted with authority

 to dismantle IMLS, MBDA, and FMCS, or that there are “no limitations on the President’s exercise
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 of that authority.” Reich, 74 F.3d at 1331. To the contrary, numerous statutes restrict the

 President’s and the agency defendants’ authority to curtail the agencies’ functions. Thus, the

 District Court for the Southern District of New York recently found that plaintiffs had a likelihood

 of success on their claim that the application of the Closure Order to the U.S. Agency for Global

 Media violated the separation of powers. See Widakuswara v. Lake, — F. Supp. 3d —, 2025 WL

 945869, at *7 (S.D.N.Y. Mar. 28, 2025).          And, in a case challenging the withholding of

 appropriated funds from the U.S. Agency for International Development, the District Court for the

 District of Columbia rejected similar arguments made by the Government based on Dalton, finding

 that “there is no asserted or plausible argument that the President is simply exercising discretionary

 authority conferred by statute” where the Plaintiffs claim that “the Executive has attempted to

 usurp Congress’s power over the purse in violation of the separation of powers.” AIDS Vaccine

 Advoc. Coal. v. United States Dep’t of State, — F. Supp. 3d —, 2025 WL 752378, at *17 (D.D.C.

 Mar. 10, 2025)

                        2. Defendants Have Violated the Take Care Clause.

        Defendants have violated the Take Care Clause by refusing to faithfully carry out the

 statutes Congress enacted. Mem. 31–33. Defendants argue that Plaintiffs cannot maintain this

 claim because that Clause entrusts the President with “broad, discretionary authority.” Opp. 30.

 But whatever the outer limits of the President’s discretion to execute the laws, it does not include

 authority to disregard statutes that create agencies, assign them responsibilities, appropriate them

 funds, and—through the APA—mandate that they engage in reasoned decision making. See, e.g.,

 Kendall v. United States, 37 U.S. (12 Pet.) 524, 613 (1838) (the obligation imposed by the Clause

 “to see the laws faithfully executed” does not “impl[y] a power to forbid their execution”);

 Widakuswara, 2025 WL 945869, at *7 (holding that “effectively shuttering a congressionally



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 created agency simply cannot be construed as following through on this constitutional mandate”

 to “take Care that the Laws be faithfully executed”). Defendants do not attempt to rebut Plaintiffs’

 argument that the Closure Order flouts all of those statutes. Instead, they assert without support

 that Plaintiffs’ arguments are “based on Plaintiffs’ subjective views about how to best implement

 and administer” the agencies. Opp. 29. But that bald assertion is belied by Plaintiffs’ extensive

 explanation of the statutes that the Closure Order disregards or openly violates. See Mem. 20–29.

        Defendants’ remaining objections to the Take Care claim fare no better. Courts have

 recognized that plaintiffs may invoke the Take Care Clause in litigation. See, e.g., Widakuswara,

 2025 WL 945869, at *6 (finding likelihood of success in Take Care Clause challenge); Center for

 Biological Diversity v. Bernhardt, 946 F.3d 553, 561-62 (9th Cir. 2019) (considering merits of

 Take Care claim). Plaintiffs do not seek declaratory or injunctive relief “against the President,”

 Opp. 29; their requested relief would run against the agency defendants and their officers. See

 Reich, 74 F.3d at 1328 (“We think it is now well established that ‘[r]eview of the legality of

 Presidential action can ordinarily be obtained in a suit seeking to enjoin the officers who attempt

 to enforce the President's directive’”) (citation omitted). And the President’s subordinates, no less

 than the President himself, have an obligation to follow the Take Care Clause. See Printz v. United

 States, 521 U.S. 898, 922 (1997) (“The Constitution does not leave to speculation who is to

 administer the laws enacted by Congress; the President, it says, ‘shall take Care that the Laws be

 faithfully executed,’ Art. II, § 3, personally and through officers whom he appoints.” (emphasis

 added)); see also In re Border Infrastructure Envtl. Litig., 284 F. Supp. 3d 1092, 1137-38 (S.D.

 Cal. 2018) (“the Court disagrees with Defendants’ argument that the Take Care Clause applies

 only to the President, and not his cabinet members”) (collecting cases).




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 II.    PLAINTIFFS HAVE DEMONSTRATED IRREPARABLE INJURY.

        Plaintiffs have produced dozens of declarations demonstrating that the dismantling of

 IMLS, MBDA, and FMCS will inflict irreparable harm on the States—including by compelling

 them to abandon critical library programs, forgo projects to support disadvantaged businesses, and

 lose the benefits of services needed to prevent strife with labor unions. Plaintiffs’ TRO motion

 demonstrated that these harms would materialize even during the short period in which a TRO

 would have been in effect. It is even clearer that those irreparable harms will occur during the

 monthslong period in which a preliminary injunction would be in effect—and, indeed, many of

 those harms have already materialized.

                A.      States Have Suffered and Will Continue to Suffer Irreparable Harm
                        from the Dismantling of IMLS.

        Defendants assert that although the States may be harmed by the dismantling of IMLS, the

 harms alleged do not threaten “the very existence” of any States’ library programs and are therefore

 not irreparable. Opp. 34–35. But Defendants simply ignore the numerous declarations that say

 just that—that the dismantling of IMLS will cause, and indeed has already caused, Plaintiffs to

 cancel programming and eliminate critical services. For example, the declarations state that any

 delay in funding from IMLS will force libraries to “immediately . . . halt services and implement

 a hiring freeze,” Moore Decl. ¶¶ 29, 42 Ex. 27, and cause them to “stop statewide and local public

 library programs immediately.” Lucas Decl. ¶ 27, Ex. 3. 2 In fact, at least one library has had to

 shut down operations due to not receiving funds timely: the Maine State Library has had to close

 its doors for two weeks starting April 10 and has had to pause all its online services for requests

 until “after the staff reorganization and reopening of our public space.” Fisher Suppl. Decl. ¶¶ 9,



 2
  Upon information and belief, between April 11 and April 14, Arizona, Maine, and New Mexico,
 Oregon have received disbursements from IMLS.
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 10 (attached as Exhibit 1 to this Reply). Likewise, several States have attested that terminations

 in grant funding have already required them to cancel library programs or halt work on ongoing

 museum projects. See, e.g., Nelson Decl. ¶ 8, ECF No. 36-6 (as a result of cancellation, New

 Jersey library has “issued stop work orders” and will be unable to carry out literacy program);

 Jones Decl. ¶ 20, Ex. 34 (termination of grant award to Washington “is already harming” State’s

 library system); O’Neill Decl. ¶ 11, ECF No. 35-5 (loss of grant funding “will lead to . . . canceled

 regional events . . . and canceled subcontracts with university and community partners”); Lucas

 Decl. ¶¶ 18, 20, Ex. 3 (programs for seniors, veterans, and English learners have been “diminished

 or halted”); Fisher Decl. ¶ 19, Ex. 19 (“The threat of not receiving our FY24 funding has had an

 immediate chilling effect on staff and their ability to carry out daily operations”); Aldrich Decl. ¶

 19, Ex. 7 (because of the uncertainty of funding, the State library has not “not moved forward with

 the subscriptions for many of our online resources”); Compton Decl. ¶¶ 9, 14, Ex. 13 (Maryland’s

 state-operated Banneker-Douglass-Tubman Museum has been forced to delay portions of a project

 because of funding uncertainty); Ball Decl. ¶¶ 30, 33, Ex. 17 (explaining that any pause in federal

 funding would require the immediate closure of a research project). Defendants do not grapple

 with, let alone contest, any of these declarations. They are more than sufficient to establish

 irreparable harm from the gutting of IMLS.

                B.      The Complete Closure of MBDA Will Inflict Irreparable Harm.

        It has also become clear that all of the States that receive funding from MBDA will suffer

 irreparable harm absent a preliminary injunction. It is uncontested that no employees are currently

 working at MBDA and that the agency’s workforce will be abolished in four weeks. See Alex Doe

 Supp. Decl. ¶¶ 4–5. ECF No. 35-3. As a result, the agency will be unable to make any

 disbursements on existing grants, provide services to grant recipients, issue grant solicitations, or

 renew grants when they expire on June 30 and August 30. Id. ¶ 6.
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        There is no question that existing grant recipients will suffer irreparable injury from the

 effective closure of the agency. For instance, the declaration of the University of Hawaii—which

 Defendants ignore—states that “[a]ny pause in funding would displace the students currently in

 training programs” and cause three staff members to lose their jobs. Hokoana Decl. ¶¶ 13, 20, Ex.

 11. The Baltimore MBDA Advanced Manufacturing Center would likewise suffer “immediate”

 impacts from any pause in funding. Lundy Decl. ¶¶ 9, 16, Ex. 12. And any delay or halt in funding

 will force Maryland’s Entrepreneurial Development and Assistance Center to halt “essential

 programs.” Muhammad Decl. ¶ 12, Ex. 16. Similarly, all of the grantees will be required to halt

 their programs if grants cannot be renewed before June 30 or August 30. See, e.g., Deane Decl.

 ¶¶ 8, 14, 19–20, Ex. 10; Wikenheiser Decl., ¶ 23, Ex. 37 (“if the MBDA does not continue the

 cooperative agreement as awarded, OBE will cancel any upcoming training and accelerator

 services for participants already enrolled and expecting these services”). Defendants scoff that

 those dates are far off. Opp. 12-13. But an MBDA employee has explained—subject to no factual

 rebuttal from the government—that the grant solicitation process typically takes several months

 and would be impossible to complete by then unless the agency quickly begins work at full staff.

 See Alex Doe Decl. ¶ 8, Ex. 41. It is obvious that MBDA will not be able to conduct, let alone

 complete, grant solicitations by those dates if it has zero employees.

                C.      The Gutting of FMCS Will Cause Irreparable Harm to State Labor-
                             Management Relations and Contribute to Labor Strife.

        Defendants do not dispute that FMCS has entirely ceased providing services to the public

 sector. Nor do they dispute that many Plaintiff States regularly rely on FMCS to provide mediation

 and conciliation services to resolve public-sector labor disputes—including pursuant to State laws

 and collective-bargaining agreements that require the use of such services. Mem. 39–40. It is




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 foreseeable that, over the next several months, States will therefore be deprived of FMCS services

 they would otherwise have used to resolve labor disputes.

        Defendants dismiss this injury as “economic.” Opp. 35. But the declarations—which

 Defendants do not contest—make clear that the benefits of FMCS’s services are more that

 economic. FMCS mediators are trusted and highly skilled “neutrals” whose services are “critical

 for resolving labor disputes” and “promoting confidence in the decision-makers and the dispute

 resolution process.” Kadish Decl. ¶ 10, Ex. 14; see Vaile Decl. ¶¶ 18, 22, Ex. 26 (FMCS mediators

 are “exceedingly competent and well-trained”; State will “not be able to replace those services in

 the near or medium term”). The absence of such mediators will cause the States to “suffer from

 prolonged labor disputes and could disrupt transportation, healthcare, and other critical services.”

 Taibi Decl. ¶ 13, Ex. 32. Further, pending mediations in which parties were using FMCS services

 at the time of the Closure Decision—such as those referenced by the American Federation of State,

 County and Municipal Employees—will be disrupted, prolonging negotiations and making work

 stoppages more likely. See Thornton Decl. ¶¶ 20–22, Ex. 39; DeLorenzo Decl. ¶¶ 11–15 (attached

 as Exhibit 2 to this Reply).

 III.   THE BALANCE OF THE EQUITIES WEIGHS IN FAVOR OF PRELIMINARY
        RELIEF.

        Plaintiffs’ motion details the substantial public interest in enjoining the Closure Decisions

 and restoring the status quo that prevailed for decades. This relief would ensure that libraries may

 continue to offer vital services to the public, minority business centers may expand opportunities

 for entrepreneurship and economic development, and States and the private sector can promote the

 peaceful resolution of labor disputes. Mem. 36-37.

        Defendants contend that a preliminary injunction is not in the public interest because it

 would “disrupt the agencies’ efforts to comply with Executive Order 14,238.” Opp. 36. To the


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 contrary, disrupting an agency’s efforts to comply with an unlawful directive is always in the

 public interest. See, e.g., Me. Forest Prods. Council v. Cormier, 586 F. Supp. 3d 22, 64 (D. Me.

 2022), aff’d, 51 F.4th 1 (1st Cir. 2022) (“[i]t is hard to conceive of situation where the public

 interest would be served by enforcement of an unconstitutional law or regulation”) (citation and

 internal quotation marks omitted); League of Women Voters v. Newby, 838 F.3d 1, 12 (D.C. Cir.

 2016) (“[T]here is a substantial public interest in having governmental agencies abide by the

 federal laws that govern their existence and operations.”) (citation and internal quotation marks

 omitted); Dorce v. Wolf, 506 F. Supp. 3d 142, 145 (D. Mass. 2020) (“it is always in the public

 interest to prevent the violation of a party’s constitutional rights.”) (cleaned up). And there is

 similarly no interest in allowing Defendants to “implement[] the President’s priorities” under the

 Closure Order where those priorities are manifestly unlawful. Opp. 37.

 IV.    A BOND IS UNWARRANTED AND THIS COURT SHOULD EXERCISE ITS
        DISCRETION TO WAIVE IT.

        The Court should exercise its discretion to waive the requirement to post a bond under Rule

 65(c). Rule 65(c) leaves district courts “wide discretion” in determining the amount of any bond.

 Axia NetMedia Corp v. Mass. Tech. Park Corp., 889 F.3d 1, 11 (1st Cir. 2018) (citation and

 internal quotation marks omitted). To determine whether to impose a bond, district courts in this

 Circuit consider: (1) the burden of compliance on the Defendant; (2) the plaintiffs’ ability to pay;

 and (3) impact on the enforcement of a federal right. Crowley v. Local No 82, Furniture & Piano

 Moving, 679 F.2d 978, 1000 (1st Cir 1982), rev’d on other grounds, 467 U.S. 526 (1984); see, e.g.,

 Maine v. U.S. Dep’t of Agriculture, 1:25-cv-131, 2025 WL 1088946, at *29–30 (D. Me. Apr. 11,

 2025). A finding that likelihood of success is “extraordinarily high” can provide “an additional

 reason not to require a bond.” Crowley, 679 F.2d at 1000 n.25; see Maine, 2025 WL 1088946, at

 *30. This test favors the imposition of no (or a nominal) bond here.


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        First, Defendants have not demonstrated a compliance burden justifying a bond in this case.

 They have not quantified any costs or damages likely to occur from the requested injunctive relief.

 Nor can they since the State Plaintiffs request nothing more than an injunction against the agencies’

 unlawful Closure Decisions. The only burden such an order would impose on Defendants would

 be the continuation of the legal obligations these agencies have fulfilled for decades and, until the

 March 14th Order, were planning on fulfilling for the foreseeable future. Likewise, the Federal

 Government has not demonstrated that it would be unable to recover any funds disbursed as a

 consequence of the requested injunctive relief. See Dep’t of Educ., 145 S. Ct. at 974 (Jackson, J.,

 dissenting) ("[E]ven if the feared flood of recipient withdrawals occurs, the Government has

 various legal mechanisms to recoup these kinds of funds.”); see also J. Shaffer & D. Ramish,

 Federal Grant Practice §36:29 (2024 ed.) (“In the end, the Government usually gets its money”).

        Regarding the second and third Crowley factors, the record indicates that requiring State

 Plaintiffs to pay a bond equal to the federal funding jeopardized by the unlawful Closure Actions

 would impose an undue burden on the States’ ability to challenge the illegality of those actions.

 As demonstrated above, the loss of federal funding would require States to cut critical programs,

 lay off staff, and terminate important services. See supra Part II. It is foreseeable that requiring

 States to post a bond in an amount comparable to the grants at issue would impose the very costs

 a preliminary injunction is necessary to avoid. Thus, the second and third factors also weigh in

 favor of no bond in this matter.

        Finally, for all the reasons set forth supra, Plaintiffs’ merits argument is exceptionally

 strong in this case, and Defendants hardly contend otherwise. Thus, this Court should exercise its

 wide discretion and set no bond, or at most, a nominal bond, under Rule 65(c). See Maine, 2025

 WL 1088946, at *29–30 (collecting cases); Pineda v. Skinner Services, Inc., 22 F.4th 47, 57 (1st



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 Cir. 2021) (district court did not abuse its discretion when defendant “failed to show how it has

 been harmed without the bond”); Int’l Assoc. of Machinists & Aerospace Workers v. Eastern

 Airlines, 925 F.2d 6, 9 (1st Cir. 1991) (finding “ample authority for the proposition that the

 provisions of Rule 65(c) are not mandatory and that a district court retains substantial discretion

 to dictate the terms of an injunction bond”); da Silva Medeiros v. Martin, 458 F. Supp. 3d 122,

 130 (D.R.I. 2020) (waiving the bond requirement where it would pose a hardship on petitioners

 and unduly restrict the federal rights at issue).

                                            CONCLUSION

         For the foregoing reasons, the Court should grant Plaintiffs’ motion for a preliminary

 injunction or a stay under 5 U.S.C. § 705.




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                                 CERTIFICATE OF SERVICE

        I, the undersigned, hereby certify that I filed the within via the ECF filing system and that

 a copy is available for viewing and downloading. I have also caused a copy to be sent via the

 ECF System to counsel of record on this 16th day of April, 2025.

                                                      /s/ Paul T.J. Meosky




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